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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

   VERONICA W. OGUNSULA,

       Plaintiff,

       v.                                                 Civil Action No. ELH-20-2568

   MICHAEL WARRENFELTZ,

       Defendant.



                                        MEMORANDUM

       This Memorandum concerns the request of the self-represented plaintiff, Veronica

Ogunsula, for the issuance of four subpoenas, pursuant to Fed. R. Civ. P. 45.

       Plaintiff has filed a civil rights suit against Trooper First Class Michael Warrenfeltz, a

Maryland State Police officer. ECF 60 (“Second Amended Complaint”). She claims that the

defendant violated her Fourth Amendment rights by conducting a traffic stop on August 30, 2017,

without reasonable suspicion that plaintiff had committed a traffic violation. Id. Defendant asserts

that he stopped plaintiff because she was using her phone while driving. ECF 96-2 at 1.

       During the stop, defendant discovered an outstanding warrant for plaintiff’s arrest,

charging her with failure to return a rental vehicle. ECF 60 at 4. As a result, plaintiff was arrested

and then taken to the Harford County Detention Center, where she remained until the night of

September 2, 2017. Id. at 7. The warrant was subsequently withdrawn. 1




       1
        I have previously issued three opinions that describe, in detail, the factual background
and procedural history of this case. ECF 41; ECF 58; ECF 110. I incorporate those discussions
here.
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       Discovery closed on September 9, 2023. ECF 90. Thereafter, on September 22, 2023,

defendant filed an “Amended Motion for Sanctions” (ECF 92) (“Sanctions Motion”), claiming

that plaintiff had substantially failed to respond to written discovery requests served on March 31,

2023. Id. at 3. I referred the Sanctions Motion to Magistrate Judge A. David Copperthite for

resolution. ECF 97. After a hearing (ECF 101), Judge Copperthite issued a “Report and

Recommendation” recommending that the Court grant the Motion and dismiss the case with

prejudice, assessing costs of $420 to the plaintiff. ECF 104 (“Recommendation”).

       By Memorandum Opinion and Order of January 19, 2024, I adopted the Recommendation,

in part. ECF 110; ECF 111. In particular, I awarded defendant the sum of $412.18 in costs. ECF

111, ¶ 5. And, I ordered, id., ¶ 3:

       By February 5, 2024, plaintiff SHALL PROVIDE complete responses to the
       interrogatories and requests for production propounded on March 31, 2023. If
       plaintiff claims that certain information or unavailable to her, plaintiff SHALL
       DESCRIBE, in detail, the efforts she made to obtain that information.

       On February 3, 2024, plaintiff filed a “Motion for Reconsideration.” ECF 114. Defendant

responded. ECF 115 (“Response”). In the Response, defendant asserted that plaintiff has not

cured her various discovery defaults, notwithstanding the Court’s Order directing her to do so by

February 5, 2024. See id. 2 Plaintiff replied. ECF 116.

       On March 12, 2024, plaintiff filed a “Motion to the Court” (ECF 119) requesting that the

Court direct the Clerk to issue four subpoenas, which plaintiff filed under seal. See ECF 118-1.

The Motion is supported by a Memorandum to the Court. ECF 118 (collectively with ECF 119,

the “Motion”).

       The four requested subpoenas are as follows.




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           Defendant did not file a motion for sanctions.
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       A subpoena addressed to the “AT&T Global Legal Demand Center” requests, ECF 118-1

at 1–2 (“First Subpoena”):

       1) Customer legal account info for Veronica Ogunsula, from account information
       and device IMEI detail, 12/1/2019 to present. 2) Call detail, texts, and phone
       location information for device usage [sic] 3/3/24 as well as 3/4, 3/5, 3/6[.]

       As a basis for the request, plaintiff states, ECF 118 at 3:

       Plaintiff requests call detail and location detection information from/for Samsung
       (S10) phone[.] This Samsung phone contains case information and discovery data,
       privileged communications, court filings and other court information and
       correspondence related to this case as well as Ms. Ogunsula [sic] business related
       information contacts, emails, and financial information.

       A subpoena addressed to “Amit Verna, General Mgr rHyatt [sic] Regency, One Bethesda

Metro Ctr, 7400 Wisconsin Ave, Bethesda, MD 20814” requests “video camera footage, date 2-

06-2024; time, 5:30 a.m. to 5:30 p.m.” ECF 118-1 at 3–4 (“Second Subpoena”). As a basis for

this request, plaintiff states, ECF 118 at 2: “The Plaintiff was working on this case with her

computer on the date above and an envelope and cash was [sic] stolen from her belongings.”

       A subpoena addressed to the “Office of General Council [sic], Washington Metro Area

Transit Authority/Metro” requests, ECF 118-1 at 5–6 (“Third Subpoena”):

       Y2/Y8 Video from Bus leaving bus stop between 7:19 and 8:00 p.m. going South
       toward Silver Spring Station on 3/03/2024; from Wendy lane & Georgia Ave bus
       stop to Wheaton Metro Station Stop.

       As a basis for this request, plaintiff states, ECF 118 at 2–3:

       This Samsung (S10) phone contains case information and discovery data,
       privileged communications, court filings and other court information and
       correspondence related to this case as well as Ms. Ogunsula [sic] business related
       information contacts, emails, and financial information. After leaving the Subway
       Restaurant at 13651 Georgia Avenue in 3/3/24 between [sic] 7:19 p.m. and 7:50
       where her phone went missing, Plaintiff boarded and rode a Y2/Y8 bus from
       Wendy Lane and Georgia Avenue to Wheaton Metro Station. Ms. Ogunsula’s
       phone was used shortly after it was missing from Ms. Ogunsula’s possession.




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        Finally, a subpoena addressed to the “T-Mobile, Legal and Emergency Response Team”

in Parsippany, New Jersey, requests “call detail and text for 240-486-1427 from 8/12/2017 to

9/1/2017.” Id. at 7–8 (“Fourth Subpoena”). As a basis for this request, plaintiff states, ECF 118

at 2:

        The plaintiff requested her Sprint call detail related to calls and texts between
        August 1, 2017 and September 30, 2017, the period in which traffic stop occurred
        [sic] that is the subject of this case. The plaintiff has requested this information not
        less than five times from the T-Mobile, the company that now owns Sprint.
        Although the company has stated this information is available and has repeatedly
        agreed to comply, they have not provided the requested information to date.
        Plaintiff does not anticipate any costs from her carrier but will pay those costs
        associated with this subpoena.

        Fed. R. Civ. P. 45(a)(3) provides: “The clerk must issue a subpoena, signed but otherwise

in blank, to a party who requests it. That party must complete it before service.” But, Local Rule

102.3 provides:

                The Clerk shall not issue any subpoena under Fed. R. Civ. P. 45(a)(3) to
        any self-represented litigant without first obtaining an order from the Court
        authorizing the issuance of the subpoena. Before entering any such order the Court
        may require the litigant to state the reasons why the subpoena should be issued, and
        the Court may refuse to authorize issuance of the subpoena if it concludes that the
        subpoena imposes undue burden or expense on the person subject to the subpoena
        or upon the U.S. Marshal or other court officer who would be required to serve it
        under 28 U.S.C. § 1915, or is otherwise inconsistent with the requirements of Fed.
        R. Civ. P. 26 and 45(d).

        Based on the information provided, I decline to authorize issuance of the First, Second, and

Third Subpoenas, because they appear “inconsistent with the requirements of Fed. R. Civ. P.

26[b][1].” That Rule provides, in part:

        Parties may obtain discovery regarding any nonprivileged matter that is relevant to
        any party’s claim or defense and proportional to the needs of the case, considering
        the importance of the issues at stake in the action, the amount in controversy, the
        parties’ relative access to relevant information, the parties’ resources, the
        importance of the discovery in resolving the issues, and whether the burden or
        expense of the proposed discovery outweighs its likely benefit.



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       The First, Second, and Third Subpoenas request information that appears unrelated to the

subject matter of the case. In particular, the First Subpoena requests phone records from December

2019 until the present, all of which post-date the stop in question by more than two years. The

Second Subpoena requests video footage dated February 6, 2024. And, the Third Subpoena

requests video footage dated March 3, 2024. I can discern no connection between the information

requested and the allegations in the suit. ECF 60. Therefore, I do not consider the information

requested by the First, Second, and Third Subpoenas “relevant . . . and proportional to the needs

of the case.” Fed. R. Civ. P. 26(b)(1).

       In contrast, the information requested by the Fourth Subpoena may be relevant to plaintiff’s

claim. See ECF 118 at 2 (requesting records related to calls and texts between August 1, 2017 and

September 30, 2017). As noted, the traffic stop occurred on August 30, 2017. ECF 60 at 3.

Defendant asserts that he stopped plaintiff because she was using her phone while driving. ECF

96-2 at 1. I am satisfied that the information requested by the Fourth Subpoena is relevant and

proportional to the needs of the case. Therefore, I shall direct the Clerk to issue the Fourth

Subpoena.

       An Order follows, consistent with this Memorandum.



                                                           /s/
                                                    Ellen Lipton Hollander
                                                    United States District Judge




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